                 Case 16-18113-elf                            Doc 11            Filed 12/19/16 Entered 12/19/16 15:00:51                                      Desc Main
                                                                                Document     Page 1 of 18
 Fill in this information to identify your case and this filing:

 Debtor 1                    Morris R. McQuay
                             First Name                                 Middle Name                     Last Name

 Debtor 2                    Marian J. McQuay
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF PENNSYLVANIA

 Case number            16-18113                                                                                                                               D   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both arc equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1 Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   •    No. Go to Part 2.
    B Yes. Where isthe property?



 1.1                                                                            What is the property? Check all that apply
        116 Leadline Lane                                                         •     Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                  rj Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  rn    Condominium or cooperative

                                                                                  •     Manufactured or mobile home
                                                                                                                                  Current value of tiie        Current value of the
        West Chester                      PA         19382-0000                   P] Land                                         entire property?             portion you own?
        City                              State              ZIP Code             Q Investment property                                   $550,000.00                 $550,000.00
                                                                                  D     Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  •     Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Checkone     a life estate), if known.
                                                                                  L-J Debtor 1 only
        Chester                                                                   • Debtor 2 only
        County                                                                    D Debtor 1and Debtor 2 only
                                                                                                                                  r-i   Check if this is community property
                                                                                  n     At least one of the debtors and another         (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




       Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
       pages you have attached for Part 1. Write that number here                                                                              =>                  $550,000.00

               Describe Your Vehicles


Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/E                                                                  Schedule A/B: Property                                                                     page 1
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                Case 16-18113-elf                  Doc 11            Filed 12/19/16 Entered 12/19/16 15:00:51                                Desc Main
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 Debtor1            Morris R. McQuay
 Debtor 2           Marian J. McQuay                                                                           Case number(if known)     16-18113

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   •     No

   • Yes


  3.1      Make:       Lincoln                                Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:      MKS                                    • Debtor 1only                                          Creditors Who Have Claims Secured by Property.
          Year:        2007                                   D Debtor 2 only                                         Current value of the      Current value of the
          Approximate mileage:                                D Debtor 1and Debtor 2 only                             entire property?          portion you own?
          Other information:                                  D At least one of the debtors and another

                                                              D Check ifthis is community property                                  $0.00                        $0.00
                                                                    (see insttuctions)




  3.2     Make:        Buick                                  Who has an interest in the property? Checkone           Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:       Lucerne                                D Debtor 1only                                          Creditors Who Have Claims Secured by Property.
          Year:        2009                                   B Debtor 2only                                          Current value of the      Current value of the
          Approximate mileage:                                D Debtor 1and Debtor 2 only                             entire property?          portion you own?
          Other information:                                  D At least one of the debtors and another

                                                              D Checkifthis Is community property                                   $0.00                        $0.00
                                                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   BNo
  • Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  pages you have attached for Part 2. Write that number here                                                 =>                                              $0.00


              Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                           Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   •     No
         Yes. Describe.


                                   rFurniture &Appliances                                                                                                   $3,500.00


7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                     including cell phones, cameras, media players, games
   • No
   •     Yes. Describe

8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                     other collections, memorabilia, collectibles
   • No
   •     Yes. Describe



Official Form 106A/B                                                      Schedule A/B: Property                                                                   page 2
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                Case 16-18113-elf                   Doc 11           Filed 12/19/16 Entered 12/19/16 15:00:51                      Desc Main
                                                                     Document     Page 3 of 18
  Debtor 1         Morris R. McQuay
  Debtor2          Marian J. McQuay                                                                      Case number (if known)   16-18113
9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise,and otherhobbyequipment; bicycles, pool tables, golfclubs, skis; canoes and kayaks; carpentry tools;
                    musical instruments
    • No
    • Yes. Describe

 10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
    • Yes. Describe

 11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    •     No
    B Yes. Describe

                                     Wearing Apparel                                                                                                 $500.00


12. Jewelry
        Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    • No
    • Yes. Describe

13. Non-farm animals
        Examples: Dogs, cats, birds, horses
    • No
    •     Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
   • No
    • Yes. Givespecific information


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here                                                                                                   $4,000.00


              Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

16. Cash
        Examples: Money you have in yourwallet, in your home, in a safe deposit box, and on hand when you file your petition
    •     No
    • Yes

                                                                                                            Cash                                      $67.00


17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
    •    No
    g yes                                                                  Institution name:


                                      17.1.    Checking                    Citizens Bank                                                             $100.00




Official Form 106A/B                                                   Schedule A/B: Property                                                            page 3
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             Case 16-18113-elf                    Doc 11           Filed 12/19/16 Entered 12/19/16 15:00:51                      Desc Main
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 Debtor 1       Morris R. McQuay
 Debtor2        Marian J. McQuay                                                                          Case number (ifknown) 16-18113
18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    • No
    • Yes                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
    • No
    • Yes. Givespecificinformation about them
                                        Name of entity:                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instrumentsinclude personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    • No
    • Yes. Givespecificinformation about them
                                        Issuer name:


21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thriftsavings accounts, or other pension or profit-sharing plans
    • No
    • Yes. List each accountseparately.
                                     Type of account:                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    • No
    • Yes                                                               Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
    • Yes                      Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    • No
    • Yes                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything fisted in line 1), and rights or powers exercisable for your benefit
   • No
    • Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    • No
    • Yes. Givespecificinformation about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
    • Yes. Givespecificinformation about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    • No
   • Yes. Give specific information about them, including whetheryou already filed the returns and the tax years



Official Form 106A/B                                                Schedule A/B: Property                                                             page 4
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  Debtor 1       Morris R. McQuay
  Debtor 2       Marian J. McQuay                                                                             Case number (if known) 16-18113
 29. Family support
       Examples: Pastdue orlump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     • No
     • Yes. Give specific information

 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                     benefits; unpaid loans you made to someone else
     • No
     • Yes. Givespecific information..
 31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     • No
     • Yes. Name the insurance company ofeach policy and list itsvalue.
                                          Company name:                                              Beneficiary:                       Surrenderor refund
                                                                                                                                       value:

 32. Any interest in property that is due you from someone who has died
       If you are thebeneficiary ofa living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
       someone has died.
     • No
    • Yes. Givespecific information..

33. Claims against third parties,whether or not you have fileda lawsuit or made a demand for payment
     Examples:Accidents, employment disputes, insurance claims, or rights to sue
    • No
    • Yes. Describe each claim

34. Othercontingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    • No
    • Yes. Describe each claim

35. Any financial assets you did not already list
   • No
    • Yes. Givespecific information..

 36. Add the dollarvalue of allof your entries from Part 4, includingany entries for pages you have attached
       for Part 4. Write that number here                                                                                                           $167.00


           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Doyou own or have any legal or equitable Interest in any business-related property?
   • No. Goto Part 6.
   • Yes. Go to line 38.



           Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Doyou own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      • No. Goto Part 7.
      • Yes. Go to line47.


                Describe Ail Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                        Schedule A/B: Property                                                         page 5
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              Case 16-18113-elf                    Doc 11          Filed 12/19/16 Entered 12/19/16 15:00:51                         Desc Main
                                                                   Document     Page 6 of 18
  Debtor 1       Morris R. McQuay
  Debtor 2       Marian J. McQuay                                                                     Case number (if known) 16-18113

 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    • No
    • Yes. Give specific information

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                            $0.00


               List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                                    $550,000.00
 56. Part 2: Total vehicles, line 5                                                          $0.00
 57.   Part 3: Total   personal and household items, line 15                            $4,000.00
 58.   Part 4: Total   financial assets, line 36                                          $167.00
 59.   Part 5: Total   business-related property, line 45                                   $0.00
 60.   Part 6: Total   farm- and fishing-related property, line 52                          $0.00
 61.   Part 7: Total   other property not listed, line 54                     +             $0.00

 62. Total personal property. Add lines 56through 61...                                 $4,167.00    Copy personal property total              $4,167.00

 63. Total of all property on Schedule A/B.Add line 55 + line 62                                                                        $554 167.00




Official Form 106A/B                                                Schedule A/B: Property                                                          page 6
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                  Case 16-18113-elf                 Doc 11          Filed 12/19/16 Entered 12/19/16 15:00:51                               Desc Main
                                                                    Document     Page 7 of 18
 Fill-in this information to identify your case:

 Debtor 1                   Morris R. McQuay
                            First Name                     Middle Name                     Last Name

 Debtor 2                   Marian J. McQuay
 (Spouse if filing)         First Name                     Middle Name                     I ast Name



 United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA


 Case number           16-18113
 (if known)                                                                                                                            •    Check if this is an
                                                                                                                                            amended filing


Official Form 1Q6C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/1 e
Be as complete and accurate as possible. If two married people are filing togethei, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies ot Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

                  Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      • You are claiming federal exemptions             11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

      Furniture & Appliances                                          $3,500.00      •                             $3,500.00    11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                     D        100% offair market value, up to
                                                                                              any applicable statutory limit


      Cash
                                                                          $67.00                                       $67.00   11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                                     Q 100% offair market value, up to
                                                                                              any applicable statutory limit

      Checking: Citizens Bank                                            $100.00                                     $100.00    11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 17.1
                                                                                     L-l      100% offair market value, up to
                                                                                              any applicable statutory limit


3. Are you claiming a homestead exemption of more than $160,375?
   (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      •       No

      •       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              D       No
              D       Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 1 of 1
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                Case 16-18113-elf                      Doc 11          Filed 12/19/16 Entered 12/19/16 15:00:51                                    Desc Main
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Fill in this information to identify your case:-

Debtor 1                     Morris R. McQuay
                             First Name                        Middle Name                   Lasi Name


Debtor 2                     Marian J. McQuay
(Spouse if, filing)          First Name                        Middle Name                   Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF PENNSYLVANIA

Case number             16-18113
(rfknown)                                                                                                                                      •    Check if this is an
                                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
     •     No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      1 Yes. Fill in all of the information below.
                List All Secured Claims
                                                                                                             Column A               Column B                 Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim        Value of collateral      Unsecured
much as possible, listthe claims in alphabeticalorder accordingto the creditor'sname.                        Do not deduct the      that supports this        portion
                                                                                                             value of collateral.   claim                     If any
[2.1 | Caliber Home Loans                          Describe the property that secures the claim:               $626,424.05               $550,000.00             $76,424.05
         Creditor's Name                           116 Leadline Lane West Chester, PA
                                                   19382 Chester County
         P.O. Box 24610
                                                   As of the date you file, the claim is: Check all that
         Oklahoma City, OK                         apply
         73124-0610                                D Contingent
         Number, Street, City, State & Zip Code    D Unliquidated
                                                   •   Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.

 D Debtor 1 only                                   D An agreement you made (such as mortgage orsecured
                                                           car loan)
 I Debtor 2only
 • Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
 • At least one of the debtors and another         D Judgment lien from a lawsuit
 D Check if this claim relates to a                • Other (including a right to offset)    First Mortgage
     community debt

 Date debt was incurred                                       Last 4 digits of account number


         I Citadel Federal Credit
                                                                                                                   $4,213.40                       $0.00           $4,213.40
         | Union                                   Describe the property that secures the claim:
          Creditor's Name                          2007 Lincoln MKS


                                                   As of the date you file, the claim is: Checkallthat
          3030 Zinn Road                           apply
          Thorndale, PA 19372-0147                 D Contingent
          Number, Street, City, State & Zip Code   D Unliquidated
                                                   D Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 D Debtor i only                                   D An agreement you made(such as mortgage or secured
                                                           car loan)
 • Debtor 2 only
 B Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another         D Judgment lien from a lawsuit
 D Check if this claim relates to a                • other (including a right to offset)     Purchase Money Security
      community debt

 Date debt was incurred                                       Last 4 digits of account number


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                           page 1 of 2
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                                                                    Document     Page 9 of 18                                                               12/19/16 2:03PM




 Debtor1 Morris R. McQuay                                                                         Case number (ifknow)          16-18113
             First Name                Middle Name                    Last Name

 Debtor 2 Marian J. McQuay
             First Name                Middle Name                    Last Name




   Add the dollar value of your entries In Column A on this page. Write that number here:                        $630,637.45
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:
                                                                                                                 $630,637.45

I'JBIl List Others to Be Notified for a DebtThat You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to somoone else, list tho creditor In Part 1, and then list tho collection agency here. Similarly, if you havo more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts In Part 1, do not fill out or submit this page.




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 2 of2
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                     Case 16-18113-elf                   Doc 11          Filed 12/19/16 Entered 12/19/16 15:00:51                              Desc Main
                                                                        Document      Page 10 of 18
  Fill in this information to identify your^ase:

  Debtor 1                        Moms R^McQuay
                                  First Name                     Middle Name                     Last Name


  Debtor 2                        Marian J. McQuay
  (Spouse if, filing)             First Name                     Middle Name                     Last Name


  United States Bankruptcy Court for the:                  EASTERN DISTRICT OF PENNSYLVANIA


  Case number              16-18113
  (if known)                                                                                                                               •   Check if this is an
                                                                                                                                               amended filing

 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                        12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
 any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
 Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not inciude any creditors with partially secured claims that are listed in
 Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
 left. Attach the Continuation Page to this page. Ifyou have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
 name and case number (if known).
                      List All of Your PRIORITY Unsecured Claims
  1.     Do any creditors have priority unsecured claims against you?

         B No. Go to Part 2.
         •     Yes
                     List All of Your NONPRIORITY Unsecured Claims

 3.      Do any creditors have nonpriority unsecured claims against you?

         M No. You have nothingto report in this part Submit this form to the court with your other schedules.

         •     Yes.

                     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only ifyou haveothers to be notified about your bankruptcy, fora debt that youalready listed in Parts 1 or 2. Forexample, ifa collection agency
   is trying to collectfrom you for a debt you oweto someone else, list the original creditorin Parts 1 or 2,then list the collection agency here.Similarly, ifyou
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. Ifyou do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.28 U.S.C. §159. Addthe amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                            6a.      Domestic support obligations                                            6a.      S                    0.00
               Total
             claims
  from Part 1               6b      Taxes and certain other debts you owe the government                     6b       $                   0.00
                            6c      Claims for death or personal injury while you were intoxicated           6c.      $                   0.00
                            6d.     Other. Add all other priority unsecured claims. Write that amount here   eci      5                   0.00


                            6e.     Total Priority. Add lines 6a through 6d.                                 6e.      $                   0.00


                                                                                                                          Total Claim
                            6f      Student loans                                                            6f.      $                   0.00
              Total
      claims
  from Part 2               6g.     Obligations arising out of a separation agreement or divorce that
                                    you did not report as priority claims                                    eg       $                   0.00
                            6h.     Debts to pension or profit-sharing plans, and other similar debts        Gii      S                   0.00
                            6i.     Other. Add all other nonpriority unsecured claims. Write that amount     6I
                                    here                                                                              $                   0.00


                            6j.     Total Nonpriority. Add lines 6f through 6i.                              6J.      s                   0.00




Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 1 of 1
Software Copyright (c) 19S6-2016 Best Case LLC- www hestcase.com                                              33947                                     Best CasQ Bankruptcy
                    Case 16-18113-elf                 Doc 11           Filed 12/19/16 Entered 12/19/16 15:00:51                        Desc Main
                                                                      Document      Page 11 of 18
 Fill in this information to identify your case:

 Debtor 1                 JVIorris R. McQuay
                           Fust Name                          Middie Name

 Debtor 2                  Marian J. McQuay
 (Spouse If filing)        First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF PENNSYLVANIA

 Casenumber            16-18113
 (if known)                                                                                                                        •   Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.         Do you have any executory contracts or unexpired leases?
           • No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           • Yes. Fill in all of the information below even ifthe contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.         List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


            Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City. State and ZIP Code

     2.1
             Name



             Number      Street


             City                                   State                   ZIP Code
     2 2

             Name



             Number      Street


             City                                   State                   ZIP Code

     2.3
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.4
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.5
             Name



             Number      Street


             City                                   State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - vvww.bestcase.com                                                                             Best Case Bankruptcy
                 Case 16-18113-elf                      Doc 11            Filed 12/19/16 Entered 12/19/16 15:00:51                  Desc Main
                                                                         Document      Page 12 of 18
 Fill-in this information to identify your case:

 Debtor 1                    Morris R.McQuay
                            First Name                            Middle Name         Lasi Name


 Debtor 2                    Marian J. McQuay
 (Spouse if. filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF PENNSYLVANIA

 Casenumber              16-18113
 (if known)                                                                                                                     •   Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15


Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      • No
      • Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      • Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
       in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
       Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
       out Column 2.


                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street. City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                               • Schedule D, line
                Name
                                                                                                      • Schedule E/F, line
                                                                                                      • Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                               D Schedule D, line
                Name
                                                                                                      • Schedule E/F, line
                                                                                                      • Schedule G, line
                Number             Street
                Citv                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - vw.-whestcaso cnm                                                                          Best Case Bankruptcy
              Case 16-18113-elf              Doc 11       Filed 12/19/16 Entered 12/19/16 15:00:51                                Desc Main
                                                         Document      Page 13 of 18


'Fill in this'irifo'rrriation'to identif

 Debtor 1                       Morris R. McQuay

 Debtor 2                       Marian J. McQuay
(Spouse, ifriling)

 United States Bankruptcy Court for the:      EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                         Check if this is:
 Case number             16-18113
 (If known)                                                                                              D An amended filing
                                                                                                         D A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

 Official Form 106!                                                                                          MM / DD/ YYYY

 Schedule I: Your Income                                                                                                                            12/15

Be ascomplete and accurate as possible. If two married people are filing together (Debtor 1and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse isliving with you, include information about your
spouse. If you are separated and your spouse isnot filing with you, do not include information about your spouse. If more space isneeded,
attach aseparate sheet tothis form. On thetopofany additional pages, write your name and case number (if known). Answer every question.
                     Describe Employment

        Fill in your employment
        information.
                                                                     Debtor 1                                   Debtor 2 or non-filing spouse
        Ifyou have more than one job,                                B Employed                                 • Employed
        attach a separate page with          Employment status
                                                                     D Not employed                             D Not employed
        information about additional
        employers.
                                             Occupation
        Include part-time, seasonal, or
                                             Employer's name         Exide Technologies                         Weightwatchers North America, Inc.
        self-employed work.

        Occupation may include student       Employer's address       13000 Deerfield Parkway                   300 Jericho Quadrangle
        orhomemaker, if itapplies.                                   Suite 200                                   Suite 350
                                                                     Milton, GA 30004                           Jericho, NY 11753

                                             How long employed there?

                     Give Details About Monthly Income

Estimate monthly income as of the dateyou file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on thelines below. If you need
more space, attach a separate sheet to this form.
                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                             non-filing spouse

         List monthly gross wages, salary, and commissions (before all payroll                                                        10,500.02
 2-      deductions)." If not paid monthly, calculate what the monthly wage would be.        2.     $         4,198.50       $


  3.     Estimate and list monthly overtime pay.                                             3. +$                 0.00      ♦$             0.00


 4.      Calculate gross Income. Add line 2 + line 3.                                        4. i $        4,198.50              $   10,500.02




Official Form 1061                                                        Schedule I: Your Income                                                  page I
             Case 16-18113-elf             Doc 11        Filed 12/19/16 Entered 12/19/16 15:00:51                                  Desc Main
                                                        Document      Page 14 of 18

 Debtor 1 Morris R. McQuay
 Debtor 2 Marian J. McQuay                                                                        Case number (if known)    16-18113



                                                                                                      For Debtor 1           For Debtor 2 or
                                                                                                                             non -filing
                                                                                                                                       spouse
      Copy line 4 here                                                                     4.         $       4,198.50       $_       10,500.02

       List all payroll deductions:
       5a.   Tax, Medicare, and Social Security deductions                                 5a.        $         960.13       $         2,632.19
       5b.   Mandatory contributions for retirement plans                                  5b.        $              0.00    $                   0.00
       5c.   Voluntary contributions for retirement plans                                  5c.        $         167.94       $              524.99
       5d.   Required repayments of retirement fund loans                                  5d.        $              0.00    $                   0.00
      5e.    Insurance                                                                     5e.        $              0.00    $                   0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00    $                   0.00
      5g.    Union dues                                                                    5g.        $              0.00   $                    0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $                    0.00
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.      $          1,128.07       $             3,157.18
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.      $          3,070.43       $             7,342.84
 8    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00    $                   0.00
      8b.    Interest and dividends                                                        8b.        $              0.00    $                   0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00    $                   0.00
      8d.    Unemployment compensation                                                     8d.        $              0.00    $                   0.00
      8e.    Social Security                                                               8e.        $              0.00    $                   0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             NutritionAssistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00   $                    0.00
             Pension or retirement income                                                  8g.        S              0.00   $                    0.00
      8h.    Other monthly income. Specify:                                                8h.+       S              0.00 + $                    0.00

 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                     0.00


 10. Calculate monthly income. Add line 7 + line 9.                                      10. $            3,070.43      $       7,342.84         $      10,413.27
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, yourdependents, your roommates, and
      other friends or relatives.
      Do not include any amountsalready included in lines2-10or amountsthat are notavailable to pay expenses listed in Schedule J.
      Specify:                                                                                                                       11.     +$              0.00

 12. Addthe amount in the last column of line10to the amountin line 11. Theresult is thecombined monthly income.
      Write that amounton the Summary of Schedulesand Statistical Summary of Certain Liabilities and Related Data, ifit
      applies                                                                                                                        12.     $          10,413.27

                                                                                                                                            Combined
                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      •         No.
      •         Yes. Explain: I




Official Form 1061                                                      Schedule I: Your Income                                                           page 2
              Case 16-18113-elf                     Doc 11            Filed 12/19/16 Entered 12/19/16 15:00:51                                     Desc Main
                                                                     Document      Page 15 of 18


 Fill in""this information to identrfy"your"case:

 Debtor 1                Morris R. McQuay                                                                              Check if this is:
                                                                                                                       •        An amended filing
 Debtor 2                Marian J. McQuay                                                                              D        A supplement showing postpetition chapter
 (Spouse, if fiiing)                                                                                                            13 expenses as of the following date:

 United States Ba nkruptcy   Court for the:       EASTERN DISTRICT OF PENNSYLVANIA                                              MM / DD / YYYY


 Case number           16-18113
 (If known)




 Official Form 1Q6J
 Schedule J: Your Expenses                                                                                                                                                     12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

               Describe Your Household
       Is this a joint case?
       D No. Go to line 2.
       B Yes. DoesDebtor 2 live in a separate household?
                 • No
                 • Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

 2.    Do you have dependents?                •    No

       Do not list Debtor 1 and               DYes.         Fill out this information for   Dependent's relationship to            Dependent's        Does dependent
       Debtor 2.                                            each dependent                  Debtor 1 or Debtor 2                   age                live with you?
                                                                                            i»»^i»iM»»m.™.mimi»w»WBi»mwiB5g31                        IIMMMIIMJMMMMIiailiWMIi


       Do not state the                                                                                                                              DNo
       dependents names.                                                                                                                             DYes
                                                                                                                                                     • No
                                                                                                                                                     DYes
                                                                                                                                                     D No
                                                                                                                                                     DYes
                                                                                                                                                     • No
                                                                                                                                                     DYes
       Do your expenses include                         •   No
       expenses of people other than
       yourself and your dependents?                    DYes

               Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. Ifthis is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                                    Your expenses

4.     The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                                    4.   $                            3,408.43

       If not included in line 4:

       4a.     Real estate taxes                                                                                     4a.                                        0.00
       4b.     Property, homeowner's, or renter's insurance                                                          4b.                                        0.00
       4c      Home maintenance, repair, and upkeep expenses                                                         4c.                                    275.00
       4d.     Homeowner's association or condominium dues                                                           4d.                                    104.00
5.     Additional mortgage payments for your residence, such as home equity loans                                      5.                                       0.00




Official Form 106J                                                            Schedule J: Your Expenses                                                                        pagel
             Case 16-18113-elf                Doc 11      Filed 12/19/16 Entered 12/19/16 15:00:51                                Desc Main
                                                         Document      Page 16 of 18

 Debtor 1     Morris R. McQuay
 Debtor 2     Marian J. McQuay                                                                   Case number (if known)     16-18113

       Utilities:
       6a.    Electricity, heat, natural gas                                                           6a.   $                            470.66
       6b.    Water, sewer, garbage collection                                                         6b.   $                            200.00
       6c.    Telephone, cell phone, Internet, satellite, and cable services                           6c.   $                            545.00
       6d.    Other. Specify:                                                                          6d.   $                               0.00
 7.    Food and housekeeping supplies                                                                   7.   $                            550.00
 8.    Childcare and children's education costs                                                         8.   $                               0.00
 9.    Clothing, laundry, and dry cleaning                                                              9.   $                               0.00
 10.   Personal care products and services                                                             10. $                                 0.00
 11.   Medical and dental expenses                                                                     11. $                              275.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                    12.   $                            370.00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13.   $                               0.00
 14.   Charitable contributions and religious donations                                                14.   $                               0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a.   Life insurance                                                                         15a.    $                               0.00
       15b.   Health insurance                                                                       15b.    $                               0.00
       15c.   Vehicle insurance                                                                       15c.   $                            601.00
       15d. Other insurance. Specify:                                                                15d.    $                               0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                        16.   $                               0.00
 17.   Installment or lease payments:
       17a. Car payments for Vehicle 1                                                               17a.    $                            981.00
       17b. Car payments for Vehicle 2                                                               17b.    $                               0.00
       17c. Other. Specify: Tuition                                                                   17c.$                             1,833.00
       17d. Other. Specify:   Pets                                                                   17d. $                               150.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).                 18.   $                               0.00
 19.   Other payments you make to support others who do not live with you.                                   $                               0.00
       Specify:                                                                                        19.
 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule>/;I: Vo
                                                                                                  Your
                                                                                                     ur Income,
                                                                                                        Income.
       20a. Mortgages on other property                                                      20a. $                                          0.00
       20b.   Real estate taxes                                                                      20b.    $                               0.00
       20c. Property, homeowner's, or renter's insurance                                             20c.    $                               0.00
       20d. Maintenance, repair, and upkeep expenses                                                 20d.    $                               0.00
       20e.   Homeowner's association or condominium dues                                            20e. $                                  0.00
 21.   Other: Specify:                                                                                21. +$                                 0.00
 22.   Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                               $                  9,763.09
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            $                  9,763.09
 23.   Calculate your monthly net income.
       23a. Copy line 12 (yourcombined monthlyincome) from Schedule I.                               23a.    $                        10,413.27
       23b. Copy your monthly expenses from line 22c above.                                          23b.    -$                        9,763.09

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                   23c.    $                           650.18

 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       Forexample, do youexpectto finish paying foryourcar loanwithin the year or do youexpectyourmortgage paymentto increaseor decrease because of a
       modification to the terms of your mortgage?
       • No.
       • Yes.              Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                                               page 2
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                                                                 Document      Page 17 of 18




Fill in this information-to identify your case:

Debtor 1                   Jvkirris R. McQuay
                                                          Middle Name              Last Name
                           First Name

Debtor 2                   Marian J. McQuay
                           First Name                     Middle Name               Last Name
(Spouse if. filing)

United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

Case number             16-18113
                                                                                                                              •    Check if this is an
(if known)
                                                                                                                                   amended filing




Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                       12/15



If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement concealing property or
obtelUing money or property by fraud in connection with abankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, orboth. 18 U.S.C. §§152,1341,1519, and 3571.


                      Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help ycu fill out bankruptcy forms?
                No

                                                                                                             Attach BankruptcyPetition Preparer's Notice,
        •       Yes. Name of person
                                                                                                             Declaration, and Signature(Official Form 119)


       Under penalty of perjury, Ideclare that Ihave read the summary and schedules filed with this declaration and
       that they are true and correct.

         X /s/Morrisj^ McQuay                                                        X /s/ Marian J. McQuay
              Morris R. McQuay                                                         Marian J. McQuay
              Signature of Debtor 1                                                    Signature of Debtor 2

              Date       December 19, 2016                                               Date   December 19,2016




 Official Form i06Dec                                       Declaration About an Individual Debtor's Schedules
                                                                                                                                              Best Case tSanAruptcy
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                 Case 16-18113-elf                   Doc 11           Filed 12/19/16 Entered 12/19/16 15:00:51                         Desc Main
                                                                     Document      Page 18 of 18




 Fill Jn this information to-identify-your case:

 Debtor 1                 Morris R.JVIcQuay
                          First Name                        Middle Name              Last Name


 Debtor 2                 Marian J. McQuay
 (Spouse if, filing)      First Name                        Middie Name              Last Name



 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Casenumber            16-18113
 (if known)                                                                                                                        •   Check if this is an
                                                                                                                                       amended filing



Official Form 1Q6Dec

Declaration About an Individual Debtor's Schedules                                                                                                           12m
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No


        •       Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

        X /s/ Morris R. McQuay                                                      X /s/Marian J. McQuay
          Morris R. McQuay                                                            Marian J. McQuay
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date     December 15, 2016                                                 Date    December 15, 2016




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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